Case 2:07-md-01873-KDE-MBN Document 17081 Filed 10/15/10 Page 1 of 3
U.S. DISTRICT COURT

UNITED STATES DISTRICT COURT A
EASTERN DISTRICT OF LOUISIANA EASTERN DISTRICT OF LOUISIAN
IN RE: FEMA TRAILER MDL NO. 1873 IED ocT 15 2010
FORMALDEHYDE PRODUCTS SECTION N MAG.
LIABILITY LITIGATION

LORETTA G. WH

THIS DOCUMENT PERTAINS TO | a CLERK
Civil Action No. 10-1294 JUDGE ENGEL

Susan Pittman, as Next Friend of J.F, a MAGISTRATE CHASEZ
minor, et. al.
Vs.
Thor Industries, Inc., et al.
JURY DEMANDED

CERTIFICATE OF COMPLIANCE OF PRETRIAL ORDER NO. 55

Plaintiffs hereby request the Clerk of the Court issue summons in the above-
referenced matter. All parties have been matched to a manufacturer and contractor.

Respectfully submitted,

/s/ Robert C. Hilliard

ROBERT C. HILLIARD

Trial Attorney in Charge for Plaintiffs
Texas State Bar No. 09677700

Southern District of TX Federal ID No. 5912
Kevin W. Grillo, Of Counsel

Texas State Bar No. 08493500

Southern District of TX Federal ID No. 4647
ROBERT C. HILLIARD, L.L.-P.

719 S. Shoreline Boulevard, Suite 500
Corpus Christi, Texas 78401

Telephone: (361) 882-1612

Facsimile: (361) 882-3015

Fee
_— Process LISS)

* Dktd
—— CiRmDep
__. Dos. No.

Case 2:07-md-01873-KDE-MBN Document 17081 Filed 10/15/10 Page 2 of 3

MIKAL C. WATTS

Texas State Bar No. 20981820

Southern District of TX Federal ID No. 12419
MIKAL C. WATTS, P.C.

2506 N. Port Ave.

Corpus Christi, Texas 78401

Telephone: (800) 994-0019

Facsimile: (361) 882-1261

RICHARD P. IEYOUB

Louisiana State Bar and

Eastern District of Louisiana Federal ID No. 2217
CARLETON DUNLAP OLINDE & MOORE, LLC
One American Place, Suite 900

Baton Rouge, LA 70825

Phone 225-282-0600

Fax 225-282-0650

DANIEL D. WARE

Mississippi State Bar and

Southern District of Mississippi Federal ID No.
10847

CARROLL LOUIS CLIFFORD IV

Mississippi State Bar and

Southern District of Mississippi Federal ID No.
99545

WARE CLIFFORD LAW FIRM PLLC

2625 Ridgewood Rd., Ste 100

Jackson, MS 39216

Phone 601-368-9310

Fax 601-368-9958

ATTORNEYS FOR PLAINTIFFS

CERTIFICATE OF SERVICE
| hereby certify that the above and foregoing pleading was served on all counsel

of record through electronic notification pursuant to the electronic filing in the United
States District Court for the Eastern District of Louisiana this October 13, 2010

/s/ Robert C. Hilliard

ROBERT C. HILLIARD
Case 2:07-md-01873-KDE-MBN Document 17081 Filed 10/15/10 Page 3 of 3

Summons to be issued to the following Defendants:

Thor Industries, Inc.

Bechtel National, Inc

CH2M Hill Constructors, Inc.
Fluor Enterprises, Inc.

Shaw Environmental, Inc.

